                       IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                    WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                       Plaintiff,               )
                                                )
          v.                                    )    Criminal Action No.
                                                )    10-00320-01/04-06/16-18-CR-W-DGK
JUAN ANTONIO MARRON,                            )
DAVID HERNANDEZ-MONTOYA,                        )
MARIO MARRON,                                   )
PETER ADAM FLORES,                              )
ANTHONY FRANCIS ALVAREZ,                        )
BENITO CASTILLO GUTIERREZ,                      )
JOHN GASCA, JR.,                                )
JASON RICHARDSON,                               )
MARCO ANTONIO MURSIA,                           )
ARMANDO MENDEZ,                                 )
DESHAUN LATKEEK CERUTI,                         )
MARIA MARRON,                                   )
RAFAEL ZAMORA,                                  )
JOSEPH MICHAEL LOPEZ,                           )
FRANK MICHAEL ALVAREZ,                          )
and                                             )
MARGOT CHARLENE DAVIDSON,                       )
                                                )
                       Defendants.              )

                        MEMORANDUM OF MATTERS DISCUSSED AND
                         ACTION TAKEN AT PRETRIAL CONFERENCE

        Pursuant to the order of the Court en banc of the United States District Court for the

Western District of Missouri, a pretrial conference was held in the above-entitled cause before

me on October 4, 2012.

I.      APPEARANCES

        Defendant Juan Antonio Marron (01) appeared in person and with appointed counsel

Susan Hunt. Defendant Juan Antonio Marron has a change-of-plea setting for October 17,

2012.

        Defendant David Hernandez-Montoya (02) appeared in person and with appointed

counsel Kenton Hall.



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         Defendant Mario Marron (03) appeared in person and with appointed counsel Patrick

James O’Connor.

         Defendant Peter Adam Flores (04) appeared in person and with retained counsel

Charles Michael McKeon.

         Defendant Robert Joseph Olvera (05) pled guilty on March 7, 2012, and was therefore

not present at this pretrial conference.

         Defendant Anthony Francis Alvarez (06) appeared in person and with appointed

counsel Ronald Partee.

         Defendant Benito Castillo Gutierrez (07) appeared in person and with appointed

counsel David Johnson.

         Defendant John Gasca, Jr., (08) appeared in person and with appointed counsel John

Osgood.

         Defendant Jason Richardson (09) appeared in person and with appointed counsel John

Gromowsky.

         Defendant Marco Antonio Mursia (10) appeared in person and with appointed counsel

Angela Hasty. Defendant Marco Antonio Mursia has a change of plea hearing set for October

17, 2012.

         Defendant Armando Mendez (11) appeared by telephone; his appointed attorney,

Lance Sandage, appeared in person. Defendant Armando Mendez has a change of plea

hearing set for October 17, 2012.

         Defendant DeShaun Latkeek Ceruti (12) appeared in person and with appointed

counsel, Kelly Connor-Wilson.

         Defendant Maria Marron (13) appeared in person and with appointed counsel Adam

Crane.



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       Defendant Rafael Zamora (14) appeared in person and with appointed counsel Eugene

Harrison.

       Defendant Joseph Michael Lopez (15) appeared in person and with appointed counsel

Dione Greene. Defendant Joseph Michael Lopez has a change of plea hearing set for October

17, 2012.

       Defendant Frank Michael Alvarez (16) appeared in person; appointed defense counsel

Dana Altieri appeared by telephone.

       Defendant Gilbert Lupercio (17) pled guilty on May 10, 2012, and was therefore not

present at the pretrial conference.

       Defendant Margot Charlene Davidson (18) appeared in person and with appointed

counsel Ronald Hall.

       Defendant Muhammad Ibrahim Rollie (19) pled guilty on September 24, 2012, and

was therefore not present at the pretrial conference.

       The United States of America appeared by Assistant United States Attorney Bruce

Rhoades.

       On November 18, 2010, an indictment was returned charging:

       (1)     All defendants with one count of conspiracy to distribute cocaine, cocaine base,

and marijuana, in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(A) and (B).

       (2)     All defendants with one count of conspiracy to commit money laundering, in

violation of 18 U.S.C. §§ 1956(a)(1)(A)(I) and (h).

       (3)     Defendants Juan Antonio Marron (01), David Hernandez-Montoya (02), Mario

Marron (03), Jason Richardson (09), DeShaun Latkeek Ceruti (12), Maria Marron (13), Rafael

Zamora (14), Joseph Michael Lopez (15), and Gilbert Lupercio (17) with one count of criminal

forfeiture pursuant to 21 U.S.C. § 853.

       The following matters were discussed and action taken during the pretrial conference:

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II.     TRIAL COUNSEL

        Mr. Rhoades announced that he will be the trial counsel for the government with

SAUSA Daniel Royce assisting. The case agent to be seated at counsel table is Special Agent Joe

Geraci, DEA.

        Ms. Hunt announced that she will be the trial counsel for defendant Juan Antonio

Marron (01).

        Mr. Kenton Hall announced that he will be the trial counsel for defendant David

Hernandez-Montoya (02). Ruth Sanders may assist as second chair.

        Mr. O’Connor announced that he will be the trial counsel for defendant Mario Marron

(03).

        Mr. McKeon announced that he will be the trial counsel for defendant Peter Adam

Flores (04).

        Mr. Partee announced that he will be the trial counsel for defendant Anthony Francis

Alvarez (06).

        Mr. Johnson announced that he will be the trial counsel for defendant Benito Castillo

Gutierrez (07).

        Mr. Osgood announced that he will be the trial counsel for defendant John Gasca, Jr.

(08).

        Mr. Gromowsky announced that he will be the trial counsel for defendant Jason

Richardson (09).

        Ms. Hasty announced that she will be the trial counsel for defendant Marco Antonio

Mursia (10).

        Mr. Sandage announced that he will be the trial counsel for defendant Armando

Mendez (11).



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        Ms. Connor-Wilson announced that she will be the trial counsel for defendant

DeShaun Latkeek Ceruti (12).

        Mr. Crane announced that he will be the trial counsel for defendant Maria Marron

(13).

        Mr. Harrison announced that he will be the trial counsel for defendant Rafael Zamora

(14).

        Mr. Greene announced that he will be the trial counsel for defendant Joseph Michael

Lopez (15).

        Ms. Altieri announced that she will be the trial counsel for defendant Frank Michael

Alvarez (16).

        Mr. Ronald Hall announced that he will be the trial counsel for defendant Margot

Charlene Davidson (18).

III.    OUTSTANDING MOTIONS

        The following motions1 are pending:

        (1)       Motion in limine, filed by defendant Marco Antonio Mursia (10) on June 27,

2011 (document number 272), pending for ruling by the district judge.

        (2)       Motion to suppress wiretap evidence, filed by defendant DeShaun Latkeek

Ceruti (12) on August 31, 2012 (document number 466). A Report and Recommendation will

be filed by me, a deadline for objections will be set, and the motion will be finally ruled by the

district judge.

        (3)       Motion in limine, filed by defendant Rafael Zamora (14) on February 22, 2012

(document number 399), pending for ruling by the district judge.



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        Additionally, there are two motions for preliminary order of forfeiture pending which
pertain to defendants who have already pled guilty (document numbers 473 and 484).

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IV.    TRIAL WITNESSES

       Mr. Rhoades announced that the government intends to call 100 witnesses without

stipulations or 75 witnesses with stipulations during the trial.

       Ms. Hunt announced that defendant Juan Antonio Marron (01) intends to call no

witnesses during the trial. The defendant may testify.

       Mr. Kenton Hall announced that defendant David Hernandez-Montoya (02) intends to

call 1 witness during the trial. The defendant may testify.

       Mr. O’Connor announced that defendant Mario Marron (03) intends to call no

witnesses during the trial. The defendant may testify.

       Mr. McKeon announced that defendant Peter Adam Flores (04) intends to call no

witnesses during the trial. The defendant may testify.

       Mr. Partee announced that defendant Anthony Francis Alvarez (06) intends to call no

witnesses during the trial. The defendant may testify.

       Mr. Johnson announced that defendant Benito Castillo Gutierrez (07) intends to call 2

witnesses during the trial. The defendant may testify.

       Mr. Osgood announced that defendant John Gasca, Jr. (08) intends to call 3-4 witnesses

during the trial. The defendant may testify.

       Mr. Gromowsky announced that defendant Jason Richardson (09) intends to call 2

witnesses during the trial. The defendant may testify.

       Ms. Hasty announced that defendant Marco Antonio Mursia (10) intends to call no

witnesses during the trial. The defendant may testify.

       Mr. Sandage announced that defendant Armando Mendez (11) intends to call no

witnesses during the trial. The defendant may testify.

       Ms. Connor-Wilson announced that defendant DeShaun Latkeek Ceruti (12) intends to

call 3 witnesses during the trial. The defendant may testify.

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       Mr. Crane announced that defendant Maria Marron (13) intends to call 4 witnesses

during the trial. The defendant may testify.

       Mr. Harrison announced that defendant Rafael Zamora (14) intends to call 6 witnesses

during the trial. The defendant may testify.

       Mr. Greene announced that defendant Joseph Michael Lopez (15) intends to call no

witnesses during the trial. The defendant may testify.

       Ms. Altieri announced that defendant Frank Michael Alvarez (16) intends to call no

witnesses during the trial. The defendant may testify.

       Mr. Ronald Hall announced that defendant Margot Charlene Davidson (18) intends to

call no witnesses during the trial. The defendant may testify.

V.     TRIAL EXHIBITS

       Mr. Rhoades announced that the government will offer approximately 350 - 500

exhibits in evidence during the trial.

       Ms. Hunt announced that defendant Juan Antonio Marron (01) will offer no exhibits in

evidence during the trial.

       Mr. Kenton Hall announced that defendant David Hernandez-Montoya (02) will offer

approximately 5 exhibits in evidence during the trial.

       Mr. O’Connor announced that defendant Mario Marron (03) will offer approximately

10 exhibits in evidence during the trial.

       Mr. McKeon announced that defendant Peter Adam Flores (04) will offer no exhibits in

evidence during the trial.

       Mr. Partee announced that defendant Anthony Francis Alvarez (06) will offer no

exhibits in evidence during the trial.

       Mr. Johnson announced that defendant Benito Castillo Gutierrez (07) will offer

approximately 4 exhibits in evidence during the trial.

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          Mr. Osgood announced that defendant John Gasca, Jr. (08) will offer approximately 5

exhibits in evidence during the trial.

          Mr. Gromowsky announced that defendant Jason Richardson (09) will offer

approximately 2 exhibits in evidence during the trial.

          Ms. Hasty announced that defendant Marco Antonio Mursia (10) will offer no exhibits

in evidence during the trial.

          Mr. Sandage announced that defendant Armando Mendez (11) will offer no exhibits in

evidence during the trial.

          Ms. Connor-Wilson announced that defendant DeShaun Latkeek Ceruti (12) will offer

approximately 10 exhibits in evidence during the trial.

          Mr. Crane announced that defendant Maria Marron (13) will offer approximately 5

exhibits in evidence during the trial.

          Mr. Harrison announced that defendant Rafael Zamora (14) will offer approximately

10 exhibits in evidence during the trial.

          Mr. Greene announced that defendant Joseph Michael Lopez (15) will offer no exhibits

in evidence during the trial.

          Ms. Altieri announced that defendant Frank Michael Alvarez (16) will offer no exhibits

in evidence during the trial.

          Mr. Ronald Hall announced that defendant Margot Charlene Davidson (18) will offer

no exhibits in evidence during the trial.

VI.       DEFENSES

          All defense counsel announced that all defendants will rely on the defense of general

denial.




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VII.     POSSIBLE DISPOSITION

         Ms. Hunt, counsel for Juan Antonio Marron (01), stated this case is probably not for

trial. Defendant has a change-of-plea hearing set for October 17, 2012.

         Mr. Kenton Hall, counsel for David Hernandez-Montoya (02), stated this case may be

for trial.

         Mr. O’Connor, counsel for Mario Marron (03), stated this case is probably not for trial.

         Mr. McKeon, counsel for Peter Adam Flores (04), stated this case may be for trial.

         Mr. Partee, counsel for Anthony Francis Alvarez (06), stated this case is probably not

for trial.

         Mr. Johnson, counsel for Benito Castillo Gutierrez (07), stated this case may be for trial.

         Mr. Osgood, counsel for John Gasca, Jr., (08), stated this case may be for trial.

         Mr. Gromowsky, counsel for Jason Richardson (09), stated this case is probably not for

trial.

         Ms. Hasty, counsel for Marco Antonio Mursia (10), stated this case is probably not for

trial. Defendant has a change-of-plea hearing set for October 17, 2012.

         Mr. Sandage, counsel for Armando Mendez (11), stated this case is probably not for

trial. Defendant has a change-of-plea hearing set for October 17, 2012.

         Ms. Connor-Wilson, counsel for DeShaun Latkeek Ceruti (12), stated this case may be

for trial.

         Mr. Crane, counsel for Maria Marron (13), stated this case may be for trial.

         Mr. Harrison, counsel for Rafael Zamora (14), stated this case may be for trial.

         Mr. Greene, counsel for Joseph Michael Lopez (15), stated this case is probably not for

trial. Defendant has a change-of-plea hearing set for October 17, 2012.

         Ms. Altieri, counsel for Frank Michael Alvarez (16), stated this case is probably not for

trial.

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         Mr. Ronald Hall, counsel for Margot Charlene Davidson (18), stated this case may be

for trial.

VIII.    STIPULATIONS

         Stipulations are likely as to chain of custody, chemists’ reports, prior felony convictions,

and business records.

IX.      TRIAL TIME

         Counsel were in agreement that this case will take 10 - 12 days to try.

X.       EXHIBIT LIST, VOIR DIRE AND INSTRUCTIONS

         The U. S. Magistrate Judge ordered:

                That, in addition to the requirements of the Stipulations and Orders filed
                February 17, 2011, and August 1, 2011, counsel for each party file and serve a
                list of exhibits he or she intends to offer in evidence at the trial of this case on
                the form entitled Exhibit Index and have all available exhibits premarked using
                the stickers provided by the Clerk of Court by October 4, 2012.

                That counsel for each party file and serve requested jury voir dire examination
                questions by or before noon, Wednesday, October 17, 2012.

                That counsel for each party file and serve, in accordance with the requirements
                of Local Rule 51.1, requested jury instructions by or before noon, Wednesday,
                October 17, 2012. Counsel are requested to provide proposed jury instructions
                in both hard copy form, as required by Local Rule 51.1, and by e-mail to the
                trial judge’s courtroom deputy.

XI.      UNUSUAL QUESTIONS OF LAW

         No additional motions in limine are anticipated at this time. There are no unusual

questions of law.

XII.     TRIAL SETTING

         All counsel and the defendants were informed that this case will be listed for trial on

the joint criminal jury trial docket which commences on October 22, 2012.




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       A Spanish-speaking interpreter is required for the following defendants:

       David Hernandez-Montoya (02)

       Marco Antonio Mursia (10)

       Maria Marron (13)


                                                  ROBERT E. LARSEN
                                                  U. S. Magistrate Judge

Kansas City, Missouri
October 4, 2012

cc: Mr. Kevin Lyon




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